Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                    CASE NO.: 07-80138-CIV-MIDDLEBROOKS/JOHNSON

     SAMIRA SULLIVAN, on her own
     behalf and others similarly situated,

     Plaintiff,

     v.

     LANA MARKS LTD, INC., a Florida
     corporation, and LANA J. MARKS,
     individually.

     Defendants.
     ____________________________________/

                   MOTION TO ENFORCE SETTLEMENT AGREEMENT
                   AND FOR ENTRY OF JUDGMENT FOR PLAINTIFFS

             Plaintiff, SAMIRA SULLIVAN and Opt-in Plaintiff, SUZANNE ST. CLAIRE

     (hereinafter collectively referred to as “Plaintiffs”) by and through their undersigned

     attorneys and pursuant to the Federal Rules of Civil Procedure and Local Rules for the

     Southern District of Florida, requests the entry of an Order compelling Defendants,

     LANA MARKS LTD, INC. and LANA J. MARKS to comply with the Parties’

     Settlement Agreement and for the Entry of Judgment for Plaintiffs, and states:

             1.     On or about August 21, 2007, Plaintiff’s current counsel, Frank

                    McKeown, appeared and inquired about reaching a settlement in this

                    matter quickly, as trial was set for the end of October.

             2.     The Parties negotiated with severe determination for days. See Exhibit A,

                    Correspondences and emails between counsel.




                                                  1
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 2 of 7



           3.   Ultimately, the Parties reached a settlement agreement, on or about August

                30, 2007. See Exhibit B, Settlement Agreement faxed to Defense Counsel

                at his Request; Exhibit C, Settlement Agreement executed by Plaintiff and

                Opt-In Plaintiff.

           4.   Plaintiff’s counsel attempted to confirm the Agreement as drafted was

                acceptable, and that payment would be delivered by September 10, 2007,

                as agreed upon. The payment date was a material term for Plaintiffs, who

                would not have agreed to this Settlement absent that term. Exhibit D,

                Email Correspondence from Plaintiff’s Counsel.

           5.   On September 10, 2007, Defense counsel confirmed that payment was in

                hand, but that he would not be releasing the check to Plaintiffs until his

                client executed the Settlement Agreement, which was already agreed

                upon. Exhibit E, Correspondence from Defense Counsel.

           6.   Plaintiff’s counsel informed Defense counsel that payment was late and

                that Defendant was in breach of the Settlement Agreement already.

                Exhibit F, Email Correspondence from Plaintiff’s Counsel.

           7.   Despite multiple attempts by telephone and in writing, Defendant’s

                counsel was unwilling to release payment, and Defendant had still not

                executed the Agreement.

           8.   Finally, on Setpember 19, 2007, Plaintiff’s counsel received a letter from

                Defense counsel insisting on a revision of the terms of the Agreement,

                which were not previously contemplated at the time of the Agreement.

                Plaintiffs would have agreed to the additional non-disparagement clause,




                                             2
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 3 of 7



                   but for the unreasonable restriction of not contacting Defendant’s

                   customers in any capacity. See Exhibit G, September 19 Correspondence

                   from Defense Counsel.

            9.     Accordingly, the Defendants failed to pay any monies pursuant to the

                   Agreement (which is a breach of a material term of the Agreement) and

                   have failed to execute the Agreement as negotiated, which has prevented

                   filing a Motion for Approval of Settlement with this Court.

            10.    Most notably, Defendants are now changing the material terms of the

                   Agreement by adding further restrictions on Plaintiffs which were not

                   contemplated by the Parties initially.

            11.    Pursuant to Local Rule 7.1 counsel for the Plaintiff certifies that she has

                   contacted counsel for the Defendant in a good faith effort to resolve the

                   issues raised by this Motion. Counsel for the Plaintiff represents that the

                   Defendants are not able to resolve the issues presented in the instant

                   motion.

            WHEREFORE, Plaintiff respectfully requests this Honorable Court either enter

     an Order compelling Defendants to pay the amount owed per the Settlement Agreement,

     plus interest, and execution of the Agreement containing a mutual general release, or, in

     the alternative, enter a Judgment in favor of Plaintiffs in the amount of $20,000.00 owed,

     as well as an order awarding attorney’s fees and costs for being compelled to bring this

     Motion.




                                                 3
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 4 of 7



                                  MEMORANDUM OF LAW

                                                 I.

                THE SETTLEMENT AGREEMENT MUST BE ENFORCED
                          ACCORDING TO ITS TERMS

            District courts have the power to enforce settlement agreements reached in cases

     pending before them. Ford v. Citizens & Southern National Bank, 928 F.d 1118, 1121

     (11th Cir. 1991), (citing Cia Anon Venezolana de Navegacion v. Harris, 374 F.2d 33, 36

     (5th Cir. 1967)); Mid-South Towing Company v. Har-Win, Inc., 733 F.2d 386, 389 (5th

     Cir. 1984). As the Eleventh Circuit Court of Appeals held in Murchison v. Grand

     Cypress Hotel Corp., 13 F.3rd 1483, 1486 (11th Cir. 1994):

                   A number of courts have recognized the authority of a trial court to
                   summarily enforce a settlement agreement without an evidentiary
                   hearing.

            Courts favor settlement to conserve judicial resources.      Murchison v. Grand

     Cypress Hotel Corp., 13 F. 3d 1483, 1486 (11th Cir. 1994); see also, Bhadelia v. Marina

     Club of Tampa, HOA, Inc., 142 Fed. Appx. 399, 401 (11th Cir. 2005). District courts

     have inherent authority to enforce settlement agreement in actions pending before them.

     South Beach Suncare, Inc. V. Sea & Ski Corp., 1999 U.S. Distr. Lexis 7902, *18 (S.D.

     Fla. 1999). The enforceability or validity of a settlement agreement is determined by

     federal law where the substantive rights in issue are derived from federal law. Mid-South

     733, F.2d at 38; Fulgence v. J. Ray McDermott & Co., 662 F.2d 1207 (5th Cir. 1981).

     Because the instant action is one arising under federal law, the Fair Labor Standards Act,

     the validity and enforceability of the Settlement Agreement is determined under federal

     law, not state law. Id. Once the Court determines a settlement agreement is valid, such

     as the Settlement Agreement herein, the court applies state contract law to interpret and



                                                 4
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 5 of 7



     apply its terms. Wong v. Bailey, 752 F.2d 619, 621 (11th Cir. 1985). Therefore, the

     formation, construction and enforceability of a settlement agreement is governed by state

     contract law. Id. (citations omitted).

            Because settlement agreements enjoy a favored status under the law, a settlement

     agreement generally is not subject to repudiation. Konica Minolta Photo Imaging, USA,

     Inc., v. Sonman, Inc., 2005 U.S. Distr. Lexis 19866, *9 (M.D. Fla. 2005); Murchison, 13

     F.3d at 1486. Settlements are enforceable even if the settlement agreement is not

     “signed, sealed and delivered.” Patrick v. Christian Radio, 745 So. 2d 578 (Fla. 5th

     DCA 1999). In addition, lack of communication between client and attorney does not

     vitiate the authority to settle. Javier v. Home Depot USA, Inc., 813 So. 2d 110 (Fla. 3d

     DCA 2002).

            In Reed by and Through Reed v. United States, 891 F.2d 878, 880-81 (11th Cir.

     1990), the Eleventh Circuit held:

                    A settlement agreement is as conclusive of the rights between the
                    parties as a judgment.

     Since settlements are highly favored in this Circuit as a means to conserve judicial

     resources and maintain the intent of parties who, through negotiation, have reached a

     common end, see Murchison v. Grand Cypress Hotel Corp., 13 F.3d 1483 (11th Cir.

     1994); Robbie v. City of Miami, 469 So. 2d 1384, 1385 (Fla. 1985), the agreement

     reached between the parties in this case may not be cast aside or re-written simply

     because Defendants would seemingly prefer to avoid their payment obligations. Thus,

     regardless of whether Defendants might now wish that their counsel had negotiated more

     specific, or more favorable terms of settlement—such as a longer period over which to

     make payments—it is never the role of a Court to rewrite a contract to make it more



                                                 5
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 6 of 7



     reasonable for one of the parties or to relieve a party from what turns out to be a bargain

     which one party later regrets having made. Barakat v. Broward County Hous. Auth., 771

     So.2d 1193, 1195 (Fla. 4th DCA 2000).         It is a well-settled contract principle under

     Florida law that “unexpected difficulty, expense, or hardship does not excuse a party

     from performance of its obligations under a contract.” Stuart M. Burger, RPT, P.A. v.

     Silverstein, Silverstein & Silverstein, P.A., 727 So. 2d 312 (Fla. 3d DCA 1999) (quoting

     Bumpy & Stimpson, Inc. v. Peninsula Utils. Corp., 169 So. 2d 499 (Fla. 3d DCA 1964)).

            Thus, Defendants have no legal basis for repudiating the terms of the Settlement

     Agreement herein.

                                                 II.

                                         CONCLUSION

            Federal law strongly encourages the enforcement of settlement agreements and

     allows parties to dishonor their settlements only where fraud or mutual mistake is clearly

     established. For the reasons set forth herein, Defendants, LANA J MARKS, and LANA

     MARKS, LTD, INC., jointly and severally, should be compelled to comply with their

     obligations under the Settlement Agreement, within five (5) days of the date of the

     Court’s Order on the Plaintiff’s Motion, including such reasonable additional attorney’s

     fees and costs incurred in bringing this Motion, or in the alternative, Judgment should be

     entered against Defendants in the amount of $20,000.00 plus interest, in addition to fees

     and costs awarded for bringing this Motion.




                                                   6
Case 9:07-cv-80138-DMM Document 48 Entered on FLSD Docket 10/03/2007 Page 7 of 7




     Dated: October 3, 2007                      Respectfully submitted,
            Boca Raton, Florida

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                                   CERTIFICATE OF SERVICE

            I hereby certify that on October 3, 2007 I electronically filed the foregoing
     document with the Clerk of Court using CM/ECF. I also certify that the foregoing
     document is being served this day on all counsel of record or pro se parties identified on
     the attached Service List in the manner specified, either via transmission of Notices of
     Electronic Filing generated by CM/ECF or in some other authorized manner for those
     counsel or parties who are not authorized to receive electronically Notices of Filing.


                                                     s/STACEY H. COHEN
                                                          Stacey H. Cohen

                                        SERVICE LIST
                         Samira Sullivan v. Lana Marks LTD., INC.
                  CASE NO.: 07-80138-CIV- MIDDLEBROOKS/JOHNSON
                   United States District Court, Southern District of Florida

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                                                 7
